Case 3:09-cr-00165-FAB   Document 2041   Filed 06/29/12   Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                       CRIMINAL 09-0165CCC
1) JOEL RIVERA-ALEJANDRO
2) CARLOS RIVERA-ALEJANDRO
3) ALEXIS RIVERA-ALEJANDRO
4) ANGEL BETANCOURT-RIVERA
5) ROBERTO C. FONTANEZ-VEGA
6) ABIMAEL SERRANO-FIGUEROA
7) CARLOS E. RIVERA-RIVERA
8) ISMAEL RIVERA-SANTOS
9) JOSE GARCIA-RODRIGUEZ
10) CARLOS GONZALEZ-FRANCO
11) NATANAEL RUIZ-ORTEGA
12) ANGEL LOPEZ-MALDONADO
13) JOSE RIVERA-SIERRA
14) JUAN RIVERA-GEORGE
15) JULIO ALEXIS ORTIZ-BERRIOS
16) CARLOS A. RIVERA-RIVERA
17) MIGUEL ANGEL VEGA-DELGADO
18) VALERIE RIVERA-DEYA
19) SUANETTE RAMOS-GONZALEZ
20) JOSE L. FIGUEROA-CAMILO
21) ROSARIO RIVERA-GUZMAN
22) JAIME LOPEZ-CANALES
23) JUAN GONZALEZ-RAMOS
24) HECTOR RIVERA-BETANCOURT
25) ANGEL LUIS BETANCOURT-ORTIZ
26) RICARDO BETANCOURT-ORTIZ
27) JOSE LUIS DIAZ-FIGUEROA
28) JUAN GARCIA-RODRIGUEZ
29) LUIS X. RIVERA-RIVERA
30) JOSE TRINIDAD-PAGAN
31) EDGARDO RUIZ-TORRES
32) BIENVENIDO LOPEZ-CRUZ
33) JOSE E. PEÑA-MARTINEZ
34) RAUL TORRES-SANTANA
35) DAVID A. BULTRON-FLORES
36) KAREN LISBETH
FIGUEROA-GALLARTUA
37) JORGE L. CRUZ-MALDONADO
38) JOSE L. TORRES-AGOSTO
39) VICTOR CASTRO-RODRIGUEZ
40) OSVALDO PEREZ
41) JUAN GABRIEL DE LA
CRUZ-GUZMAN
42) ROBERTO BRUNO-DIAZ
43) LUIS E. SANCHEZ-ENCARNACION
44) JONATHAN CARRASQUILLO-COLON
45) NOEL RODRIGUEZ-ADORNO
46) ADDIER ENCARNACION-CRUZ
47) IDALIA MALDONADO-PENA
 Case 3:09-cr-00165-FAB       Document 2041      Filed 06/29/12    Page 2 of 2



CRIMINAL 09-0165CCC                         2


 48) JAIME RIVERA-NIEVES
 49) DOLORES ALEJANDRO
 50) MANUEL ANTONIO
 FERRER-HADDOCK
 51) RUBEN DELGADO-MALDONADO
 52) MARLENIS
 CARRASQUILLO-QUIÑONES
 53) ANGEL LUIS RIVERA-RIVERA
 54) HECTOR ORTIZ-MARQUEZ
 55) RAMON RODRIGUEZ-IDELFONSO
 Defendants


                                        ORDER

      Having considered the Report and Recommendation filed on June 7, 2012 (docket
entry 2000) on a Rule 11 proceeding of defendant Natanael Ruiz-Ortega (11) held before
U.S. Magistrate Judge Bruce J. McGiverin on June 6, 2012, to which no opposition has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since June 6, 2012. The sentencing hearing is set for September 5,
2012 at 4:15 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on June 29, 2012.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
